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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                   )   MDL No. 2741
LIABILITY LITIGATION                      )
                                          )   Case No. 3:16-md-02741-VC
                                          )
THIS DOCUMENT RELATES TO:                 )   DEFENDANT MONSANTO COMPANY’S
                                          )   OPPOSITION TO PLAINTIFF’S MOTION
Marjorie Kross v. Monsanto Co., et al.,   )   TO REMAND KROSS CASE [filed with
                                          )   Declaration of Eric Lasker]
Case No. 3:21-cv-07730-VC                 )
                                          )   Date:      December 9, 2021
                                          )   Time:      10:00 a.m.
                                          )   Courtroom: 4




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                     INTRODUCTION AND ISSUES TO BE DECIDED

       Monsanto Company (“Monsanto”) properly removed this case by presenting evidence –

declarations and Plaintiff’s sworn interrogatory answers – in its Notice of Removal, ECF No. 1,

establishing that Plaintiff fraudulently joined three non-diverse defendants because none of them

had any involvement with or connection to the residential Roundup®-branded herbicides

allegedly used by Plaintiff. Plaintiff’s Motion to Remand (“Remand Motion”), ECF No. 6, fails

to present any meritorious arguments that these defendants were not fraudulently joined.

       First, Monsanto’s fraudulent joinder showings regarding Wilbur-Ellis Nutrition, LLC,

formerly known as Wilbur-Ellis Feed, LLC (“Wilbur-Ellis Nutrition/Feed”), and Wilbur-Ellis

Company track the same evidence-based showings that this Court accepted when denying

remand motions in other Roundup® lawsuits. Although Plaintiff’s counsel also represented the

plaintiffs at issue in those remand-denial rulings, the Remand Motion asserts the same arguments

that this Court rejected in those rulings – without even acknowledging those on-point rulings.

For the same reasons stated in those rulings, the Court should reject Plaintiff’s arguments

regarding Wilbur-Ellis Nutrition/Feed and Wilbur-Ellis Company. Likewise, Plaintiff’s

recycled, baseless argument regarding “John Doe” defendants should be denied for the same

reason discussed in the Court’s prior remand-denial rulings.

       Second, Plaintiff also misses the mark by claiming that she did not fraudulently join the

non-diverse retailer defendant, Sunnymead Ace Hardware (“Sunnymead”). Monsanto’s

fraudulent joinder argument was based on her sworn interrogatory answer, which stated that she

bought Roundup®-branded herbicides from a different store (Home Depot) and did not identify

Sunnymead as one of the stores that sold Roundup®-branded herbicides to her. Weeks after

Monsanto filed the Notice of Removal based on Plaintiff’s pre-removal sworn interrogatory

answer, Plaintiff responded by serving an “amended” interrogatory answer that – lo and behold –
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states that Sunnymead sold Roundup®-branded herbicides to her. But this obvious attempt to

manipulate the process – by Plaintiff’s counsel with a history of dismissing non-diverse retailer

defendants before trial in other Roundup® cases – fails to deprive this Court of diversity

jurisdiction. As another court held when rejecting a similar forum-manipulation gambit in a

Roundup® lawsuit, see Fazio v. Monsanto Co., No: 2:19-cv-826-FtM-29NPM, 2019 WL

6713276 (M.D. Fla. Dec. 10, 2019) (denying remand motion), denying motion for

reconsideration, 2019 WL 7372504 (M.D. Fla. Dec. 31, 2019), this Court should disregard

Plaintiff’s post-removal amendment and rely on Plaintiff’s pre-removal sworn statement to hold

that Sunnymead has been fraudulently joined.1

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       In January 2021, Plaintiff filed this lawsuit against Monsanto, seeking damages for non-

Hodgkin’s lymphoma allegedly caused by Roundup®-branded herbicides. E.g., Compl. ¶¶ 17-26

(attached to Notice of Removal as Exhibit 1, ECF No. 1-1). The Complaint also asserts claims

against Wilbur-Ellis Company and Wilbur-Ellis Nutrition/Feed – referring to them collectively

as “Wilbur-Ellis,” id. ¶¶ 29-30 – albeit based on mere information and belief, id. ¶¶ 30, 109.

The Complaint also asserts claims against Sunnymead, based on the “information and belief”

allegation that it sold Roundup®-branded herbicides to Plaintiff. Id. ¶ 9.

       On July 28, 2021, Monsanto served interrogatories on Plaintiff, including one that asked

her to identify where she had purchased Roundup®-branded herbicides. On September 3, 2021,



1
 On the same day that Monsanto removed this case, Monsanto also removed three other
Roundup® cases to this Court, see Harris v. Monsanto Co., No. 3:21-cv-07738-VC; Garff v.
Monsanto Co., No. 3:21-cv-07728-VC; Oswald v. Monsanto Co., No. 3:21-cv-07729-VC, based
on the same fraudulent joinder arguments asserted in the Notice of Removal at issue here. The
same counsel who represent Plaintiff here also represent the plaintiffs in those cases. They filed
essentially the same remand motions in this case and in those cases. Monsanto is filing, this
same date, similar oppositions to those motions.
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she served responses to those interrogatories, including an answer stating that she purchased

Roundup®-branded herbicides from Home Depot (Riverside, California). Plaintiff’s Responses

to Monsanto’s First Set of Interrogatories – Answer to Interrogatory No. 17 (attached to Notice

of Removal as Exhibit 4), ECF No. 1-4. That sworn interrogatory answer did not state that

Plaintiff purchased Roundup®-branded herbicides from Sunnymead.

       On October 4, 2021, Monsanto timely removed this case based on, inter alia, Plaintiff’s

Answer to Interrogatory No. 17 and declarations regarding Wilbur-Ellis Nutrition/Feed and

Wilbur-Ellis Company. The evidence submitted with the Notice of Removal established that:

(a) Wilbur-Ellis Nutrition/Feed, Wilbur-Ellis Company, and Sunnymead had no involvement

with or connection to the residential Roundup®-branded herbicides allegedly used by Plaintiff;

(b) those defendants should be disregarded as fraudulently joined; and (c) this Court has subject

matter jurisdiction based on diversity of citizenship between Plaintiff and Monsanto.

        On November 3, 2021, Plaintiff filed the Remand Motion. It does not dispute that

Plaintiff is a California citizen and that Monsanto is a citizen of both Missouri and Delaware for

purposes of diversity jurisdiction. The Remand Motion also does not dispute that this removal

was timely or that this lawsuit satisfies the jurisdictional-amount-in-controversy requirement for

this Court to exercise subject matter jurisdiction based on diversity of citizenship.

                                           ARGUMENT

I. Plaintiff Asserts The Same Baseless Arguments Regarding The Wilbur-Ellis Defendants
   And The “John Doe” Defendants That Were Previously Considered And Rejected By
   This Court When Denying Remand Motions In Other Roundup® Lawsuits.

       In other Roundup® lawsuits filed by the same plaintiffs’ counsel who represent Plaintiff

in this case, this Court denied remand motions that made the same arguments regarding Wilbur-

Ellis Company, Wilbur-Ellis Nutrition/Feed, and “John Doe” defendants that Plaintiff asserts

here in the Remand Motion. See In re Roundup Prods. Liab. Litig. (Carson), MDL No. 2741,
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2021 WL 4314138 (N.D. Cal. Sept. 23, 2021) (“Carson Order”); In re Roundup Prods. Liab.

Litig. (Pike), MDL No. 2741, 2021 WL 4315486 (N.D. Cal. Sept. 22, 2021) (“Pike Order); In re

Roundup Prods. Liab. Litig. (Roybal), MDL No. 2741, 2021 WL 4186714 (N.D. Cal. Sept. 15,

2021) (“Roybal Order”).2 Nevertheless, the Remand Motion inexplicably asserts the same

baseless arguments, without even acknowledging that this Court recently rejected those

arguments in those three remand-denial rulings.

       For the same reasons set forth in the remand-denial rulings cited above, the Court should

reject Plaintiff’s arguments and hold that the two Wilbur-Ellis defendants have been fraudulently

joined. As established by the evidence submitted with the Notice of Removal, Wilbur-Ellis

Nutrition/Feed has never manufactured, distributed, or sold Roundup®-branded herbicides, and

the events at issue in this case occurred before that defendant came into existence (September

2015), so there are two reasons to conclude that Plaintiff fraudulently joined that defendant. See

Roybal Order, 2021 WL 4186714, at *1; see Carson Order, 2021 WL 4314138, at *1 (citing

Roybal Order); Pike Order, 2021 WL 4315486, at *1 (same); see also Notice of Removal ¶ 22

(citing other remand-denial orders involving fraudulent joinder). Moreover, it is undisputed that

Plaintiff here – like the plaintiffs in Roybal, Carson, and Pike – alleges exposure to Roundup®-

branded herbicides through residential use, not agricultural or professional use. See Notice of

Removal ¶ 28. Thus, Wilbur-Ellis Company has been fraudulently joined. See id. ¶¶ 22, 28

(citing remand-denial orders involving fraudulent joinder). The Remand Motion presents only

speculation, without any evidentiary support, that Wilbur-Ellis Company may have distributed

the Roundup®-branded herbicides to which Plaintiff was exposed, but the same arguments were



2
 Compare Remand Motion at 4-7 with Pike Remand Motion at 3-6, No. 3:20-cv-08192-VC,
ECF No. 6; Roybal Remand Motion at 5-8, No. 3:20-cv-06235-VC, ECF No. 7; Carson Remand
Motion at 5-8, No. 3:20-cv-06238-VC, ECF No. 7.
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made by other plaintiffs and rejected by this Court. See Roybal Order, 2021 WL 4186714, at *2

(accepting Monsanto’s fraudulent joinder evidence regarding Wilbur-Ellis Company and stating

that plaintiff’s “speculation, without any evidentiary support, is insufficient to overcome the

clear and convincing evidence that Wilbur-Ellis Company did not market or distribute

[plaintiff’s] Roundup”); see also Carson Order, 2021 WL 4314138, at *1 (citing Roybal Order);

Pike Order, 2021 WL 4315486, at *1 (same). Plaintiff does not, and cannot, present any new

evidence or arguments to overcome the hurdles posed by the Roybal Order, the Carson Order,

and the Pike Order, so this Court should reject her arguments regarding Wilbur-Ellis Company

and Wilbur-Ellis Nutrition/Feed.3

        Likewise, Plaintiff’s arguments regarding the John Doe defendants have been presented

to, and rejected by, this Court.4 As this Court has stated repeatedly, “Plaintiff cannot defeat

diversity jurisdiction using Doe defendants. In determining whether an action is diverse for the

purposes of diversity jurisdiction, ‘the citizenship of defendants sued under fictitious names shall

be disregarded.’” Roybal Order, 2021 WL 4186714, at *2 (quoting 28 U.S.C. § 1441(b)(1));

Carson Order, 2021 WL 4314138, at *1 (same); Pike Order, 2021 WL 4315486, at *1 (same).

II. Plaintiff’s Pre-Removal Sworn Interrogatory Answer Shows That Sunnymead Has
    Been Fraudulently Joined, And Plaintiff Cannot Rely On Her Post-Removal Amended
    Interrogatory Answer To Deprive This Court Of Diversity Jurisdiction.

       Pursuant to well-established removal law, the Notice of Removal pierced the pleadings

and established, based on Plaintiff’s sworn interrogatory answer, that Sunnymead has been




3
  Monsanto incorporates by reference here arguments made by Monsanto in opposition to the
remand motions in Roybal, Carson, and Pike. See, e.g., Monsanto’s Opposition to Plaintiff’s
Motion to Remand, Roybal v. Monsanto Co., No. 20-cv-06235, ECF No. 10.
4
  Compare Remand Motion at 7-8 with Pike Remand Motion at 10, No. 3:20-cv-08192-VC, ECF
No. 6; Roybal Remand Motion at 8, No. 3:20-cv-06235-VC, ECF No. 7; Carson Remand Motion
at 8, No. 3:20-cv-06238-VC, ECF No. 7.
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fraudulently joined because that answer shows that Plaintiff does not have any viable claims

against Sunnymead. The claims asserted in the Complaint against Sunnymead are based on an

“information and belief” allegation that it sold Roundup®-branded herbicides to her. Compl. ¶ 9.

However, the sworn interrogatory answer served on Monsanto before it removed this case says

that Plaintiff bought Roundup®-branded herbicides from a different store (Home Depot) and does

not say that she bought these herbicides from Sunnymead. Plaintiff’s Responses to Monsanto’s

First Set of Interrogatories – Answer to Interrogatory No. 17. This sworn statement established

that she does not have viable claims against Sunnymead. See Notice of Removal ¶¶ 22, 32

(citing remand-denial rulings issued by this Court and other federal district courts in California).

       Plaintiff makes two arguments in response to Monsanto’s showing that she fraudulently

joined Sunnymead, but they both lack merit.

       First, Plaintiff claims that the Court can grant the Remand Motion without considering

her amended interrogatory answer (which seeks to wipe out her prior interrogatory answer that

was central to Monsanto’s fraudulent joinder argument regarding Sunnymead), contending that

the Court is bound by the allegations in the Complaint. See Remand Motion at 4. However, that

erroneous argument is contrary to a line of well-established case law that stands for the

proposition that a court evaluating a fraudulent joinder argument is not bound by allegations in a

complaint, when a removing defendant pierces the pleadings by presenting evidence that

disputes allegations in a complaint and shows that the plaintiff does not have viable claims

against the fraudulently joined defendant. See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d

1061, 1068 (9th Cir. 2001); Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998);

see also Remand Motion at 3 (admitting that courts evaluating fraudulent joinder arguments

“may look beyond the pleadings and consider summary judgment-type evidence”; citing, inter

alia, Ritchey, 139 F.3d at 1318). Consistent with those Ninth Circuit cases, most of this Court’s
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remand-denial rulings in the Roundup® litigation have relied on fraudulent joinder evidence in

sworn statements that disputed allegations in complaints. See In re Roundup Prods. Liab. Litig.

(Salas), MDL No. 2741, 2021 WL 5149862 (N.D. Cal. Nov. 5, 2021); In re Roundup Prods.

Liab. Litig. (Carson), MDL No. 2741, 2021 WL 4314138 (N.D. Cal. Sept. 23, 2021); In re

Roundup Prods. Liab. Litig. (Pike), MDL No. 2741, 2021 WL 4315486 (N.D. Cal. Sept. 22,

2021); In re Roundup Prods. Liab. Litig. (Roybal), MDL No. 2741, 2021 WL 4186714 (N.D.

Cal. Sept. 15, 2021); In re Roundup Prods. Liab. Litig. (Bryant), MDL No. 2741, 2019 WL

6873145 (N.D. Cal. Dec. 16, 2019); see also Fazio, 2019 WL 6713276 (denying remand motion

and accepting Monsanto’s fraudulent joinder arguments based on sworn statements that disputed

allegations in plaintiff’s complaint).

       Thus, when deciding the Remand Motion, this Court cannot simply ignore Plaintiff’s

sworn interrogatory answer that Monsanto properly submitted with its Notice of Removal. That

sworn statement is evidence that pierces the pleadings; contradicts the prior information-and-

belief allegation in the Complaint regarding Sunnymead; and establishes that Plaintiff does not

have viable claims against Sunnymead.

       Second, the Court should reject Plaintiff’s effort to manipulate the forum by achieving

remand based on an “amended” interrogatory answer – served on Monsanto weeks after it

removed this case to this Court – which claims that Plaintiff purchased Roundup®-branded

herbicides from Sunnymead. See Remand Motion at 3-4; Plaintiff’s First Amended Response to

Monsanto’s First Set of Interrogatories – Answer to Interrogatory No. 17 (served November 2,

2021), ECF No. 6-2. Plaintiff offers no credible explanation for her purported “inadvertent

omission” of Sunnymead in her initial interrogatory answer, nor could she. She had a full month

to confer with counsel and prepare her responses, and her alleged purchase of Roundup®-branded

herbicides from Sunnymead is not a tangential, readily-explicable forgotten fact – it is the
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necessary and fundamental fact upon which she based her purported claims against Sunnymead.5

       In another Roundup® lawsuit, a district court rejected a similar attempted forum-

manipulation gambit by a plaintiff who sought remand by submitting a post-removal sworn

statement that tried to change a key fact in his prior sworn statement that gave rise to Monsanto’s

fraudulent joinder removal argument regarding a non-diverse retailer defendant. See Fazio, 2019

WL 6713276, at *3-4. The court held that the post-removal sworn statement “should not be

considered as part of the fraudulent joinder analysis” and denied the remand motion based on the

pre-removal sworn statement. Id.; cf. Lopez v. General Motors Corp., 697 F.2d 1328, 1333 (9th

Cir. 1983) (affirming denial of plaintiff’s motion for reconsideration of summary judgment order

and stating: “We do not take kindly to counsel’s having [plaintiff] attempt, in a declaration in

support of her motion for reconsideration, to repudiate or contradict her sworn deposition

testimony. The declaration created no genuine issue of fact.”); Ram v. Infinity Select Ins., 807 F.

Supp. 2d 843, 855-56 (N.D. Cal. 2011) (granting defendant’s summary judgment motion and

disregarding plaintiff’s sworn statement (a declaration) that contradicted plaintiff’s prior sworn


5
  In considering the viability of Plaintiff’s purported sudden recollection of the essential factual
basis for purported claims against Sunnymead, this Court also need not “close its eyes to [the]
reality[,] … given the experience the Court has gained throughout the course of this MDL,”
Roundup Prods. Liab. Litig. (Roybal), 2021 WL 4186714, at *2, that purported claims asserted
against retailer defendants to keep Roundup® cases in state court have been consistently
dismissed by plaintiffs before trial. The Donnetta Stephens Roundup® trial started in August
2021 and is pending in San Bernardino County. Before trial, the plaintiff (represented by the
same counsel who represent Plaintiff in this case) voluntarily dismissed the non-diverse retailer
defendant from that case. Request for Dismissal, Stephens v. Monsanto Co. (filed July 15, 2021)
(attached as Exhibit 1 to accompanying Declaration of Eric Lasker (“Lasker Declaration”)). The
Destiny Clark Roundup® trial started on September 15, 2021 in Los Angeles County and ended
with a defense verdict. Before trial, the plaintiff (represented by the same counsel who represent
Plaintiff here) voluntarily dismissed the non-diverse retailer defendant from that case. Request
for Dismissal, Clark v. Monsanto Co. (filed Sept. 13, 2021) (attached as Exhibit 2 to Lasker
Declaration). In addition, in the Dewayne Johnson Roundup® case that went to trial in the
summer of 2018, the plaintiff voluntarily dismissed Monsanto’s non-diverse co-defendants in
August 2017 (although the clerk did not enter those dismissals until August 2018). Request for
Dismissal, Johnson v. Monsanto Co. (attached as Exhibit 3 to Lasker Declaration).
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statements (deposition testimony)).

       Moreover, Ninth Circuit cases and other cases protect against this type of post-removal

manipulation of the record to deprive federal courts of jurisdiction. As the Ninth Circuit stated,

“when removal is proper at the outset, federal jurisdiction is not defeated by later changes or

developments in the suit,” Takeda v. Northwestern Nat’l Life Ins. Co., 765 F.2d 815, 819 (9th

Cir. 1985) (citing cases), and other cases have made similar statements, see Powerex Corp. v.

Reliant Energy Servs., Inc., 551 U.S. 224, 232 n.1 (2007) (acknowledging “the general rule that

postremoval events do not deprive federal courts of subject-matter jurisdiction”); Williams v.

Costco Wholesale Corp., 471 F.3d 975, 976 (9th Cir. 2006) (reversing remand order and stating

that “[w]e have long held that post-removal amendments to the pleadings cannot affect whether a

case is removable”); Sparta Surgical Corp. v. Nat’l Ass’n of Securities Dealers, Inc., 159 F.3d

1209, 1213 (9th Cir. 1998) (affirming denial of remand motion; disregarding plaintiff’s post-

removal amended complaint and stating that federal subject matter jurisdiction “must be

analyzed on the basis of the pleadings filed at the time of removal without reference to

subsequent amendments”), abrogated on other grounds by Merrill Lynch, Pierce, Fenner &

Smith Inc. v. Manning, 578 U.S. 374 (2016); Moua v. Int’l Bus. Machs. Corp., No. C 10-01070

JW, 2011 WL 7293395, at *3 (N.D. Cal. Apr. 7, 2011) (denying remand motion; stating that

“jurisdictional facts are assessed at the time of removal” and that “post-filing developments do

not deprive federal courts of subject matter jurisdiction”); Molnar v. 1-800-Flowers.com, Inc.,

No. CV 08-0542 CAS (JCx), 2009 WL 481618, at *5 (C.D. Cal. Feb. 23, 2009) (disregarding

post-removal statement that plaintiff was not seeking punitive damages and stating “the general

rule that ‘postremoval events do not deprive federal courts of subject-matter jurisdiction’”)

(quoting Powerex Corp., 551 U.S. at 232 n.1); Destfino v. Kennedy, No. CV-F-08-1269 LJO

DLB, 2008 WL 4826070, at *2 (E.D. Cal. Nov. 6, 2008) (denying remand motion and stating:
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“[P]ostremoval changes do not oust the Court of jurisdiction. Removability is determined at the

time the notice of removal was filed. If the case was removable at that time, plaintiff cannot

thereafter oust the federal court of jurisdiction by voluntarily changing the case so as to destroy

the ground upon which removal was based.”) (citation omitted); CTS Printex, Inc. v. American

Motorists Ins. Co., 639 F. Supp. 1272, 1276 (N.D. Cal. 1986) (“The law is settled that post-

removal amendments will not be permitted to destroy subject matter jurisdiction once it has

attached.”) (citing cases).6

        If, as the Ninth Circuit has held, a plaintiff’s post-removal amendment of a complaint

does not affect whether a case was removable, see Williams, 471 F.3d at 976; Sparta Surgical

Corp., 159 F.3d at 1213, then Plaintiff’s post-removal amendment of her interrogatory answer

here should not affect this Court’s ruling regarding whether Monsanto properly removed this

case. After all, “once removal has been perfected[,] [P]laintiff may not manipulate the process to

void the removal.” Shaw v. Dow Brands, Inc., 994 F.2d 364, 368 (7th Cir. 1993), abrogated in

part on other grounds by Meridian Sec. Ins. Co. v. Sadowski, 441 F.3d 536, 540 (7th Cir. 2006).

                                         CONCLUSION

        For the foregoing reasons, the Court should deny the Remand Motion.


6
  Plaintiff’s reliance on the Uribes case is misplaced. See Remand Motion at 4 (citing Uribes v.
BASF Catalysts, LLC, No. 15-CV-02131-LHK, 2015 WL 5093410 (N.D. Cal. Aug. 28, 2015)).
In Uribes, BASF’s notice of removal regarding fraudulent joinder as to the non-diverse
defendant (E.T. Horn) was filed: (a) one week before that wrongful death case was scheduled to
go to trial; (b) two years after the state court had denied E.T. Horn’s summary judgment motion
(filed while the case was a personal injury lawsuit); and (c) after the personal injury trial ended
in a mistrial (because decedent died during that trial). See Uribes, 2015 WL 5093410, at *1-2, 4.
When granting remand, the court rejected BASF’s argument that the plaintiffs’ pre-removal
discovery response showed that the plaintiffs had abandoned their claims against E.T. Horn. See
id. at *4-5. Here, by contrast, the record is very different, and Monsanto’s Notice of Removal
was not based on a theory that Plaintiff had “abandoned” otherwise viable claims against
Sunnymead. Instead, the Notice of Removal established, based on her sworn statement, that she
never had any viable claims against Sunnymead because – contrary to the information-and-
belief allegation in the Complaint – Sunnymead did not sell Roundup®-branded herbicides to her.
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DATED: November 17, 2021                  Respectfully submitted,


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